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  Q. Jeanot Muster, CMAR




                                                                                                        ■■■




Jeanot Muster, CMAR
Research Facilities Manager at Seattle Children's
Seattle, Washington, United States · 500+ connections


                                           Join to connect


[{S] Seattle Children's
ffl University of Washington
 fl)   Company Website ~




About
My educational accomplishments include a Bachelor of Science from the University of Washington,
Certification as a Manager of Animal Resources from the American Association of Laboratory Animal
Science, as well as extensive training in several laboratory analytical/production methods such as
NGS single-cell sequencing, as well as the design, implementation, and coordination of several UW
capitol projects including the construction of UW's SLU 3.1 site, its Aquatics core, and its new
Genomics core. This includes the design, maintenance, and oversight of several building automation
systems, development and implementation of COVID-19 business continuity plans, and serving as a
technical expert and resource on many topics such as BSL3/Select Agent & Toxin use, equipment
sourcing and use, emergency response, research laboratory move-in logistics, compliance, among




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  Q. Jeanot Muster, CMAR
of the infrastructure.


Formerly, I worked for the University of Washington as the Aquatics Director for the Institute for
Stem Cell and Regenerative Medicine (ISCRM), responsible for ~65 users between 11 labs.
Additionally, I served as the interim Genomics Core Director and as the Manager of Shared
Equipment for ISCRM. For ISCRM, I coordinated and assisted with all internal laboratory moves and
updates, as well as managing the training, maintenance and repairs of department owned
equipment.


In the past I have managed several spending budgets totaling $1,500,000+ yearly, served as liaison
between the labs and all UW departments, regulatory departments & institutions such as the NIH,
DEA, IACUC, & EH&S. This experience has refined my skill set by managing the intricacies of a
research lab as well as an aquatics facility, and assisting & contributing to a large research group
with an emphasis on working as a team.




Experience
         Seattle Children's
          10 years 7 months

         Manager, Research Facilities Construction & Maintenance
         Jun 2021 - Present· 1 year 3 months
         Seattle, Washington, United States
         Research Facilities


         Member, Institutional Animal Care and Use Committee
         Aug 2013 - Sep 2021 · 8 years 2 months
         Seattle, Washington, United States
         Office of Institutional Assurances


         Manager, Research Occupancy Planning/ Move Add Change
         May 2021 - Jun 2021 · 2 months
         Seattle, Washington, United States
         Research Facilities




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Q. Jeanot Muster, CMAR
      Office of Animal Care



      Founder, Board of Directors
      Sound Eats
      Feb 2019 - Present· 3 years 7 months

      Seattle, Washington, United States


      Member, IACUC & IBC Planning Committee
      Northwest Association for Biomedical Research
      Mar 2018 - Present· 4 years 6 months

      Seattle, Washington, United States



m    University of Washington
     11 years 7 months

     Member, Institutional Animal Care and Use Committee
     Sep 2012 - Present · 10 years
     Seattle, Washington, United States
     Office of Animal Welfare


     Interim Director, ISCRM Genomics
     Dec 2019 - Apr 2021 · 1 year 5 months
     Seattle, Washington, United States
     Institute for Stem Cell and Regenerative Medicine
     NGS core facility with a 1Ox, Agilent, and lllumina workflow specializing in single-cell &
     spatial genomics


     Manager, ISCRM Infrastructure & Shared Resources
     Sep 2019 - Apr 2021 · 1 year 8 months
     Seattle, Washington, United States
     Institute for Stem Cell and Regenerative Medicine
     Facility management, maintenance, repair, design, business continuity, capital projects,
     strategic resourcing, move management and training of institutional spaces, shared
     equipment and resources




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Q. Jeanot Muster, CMAR
     Institute for Stem Cell and Regenerative Medicine
     histology core facility featuring the latest Leica microtomes, cryostats, and tissue
     processors combined with offering specialized training to incorporate unique histological
     techniques for use in spatial genomics


     Director, ISCRM Aquatics
     Aug 2017 - Apr 2021 · 3 years 9 months
     Seattle, Washington, United States
     Institute for Stem Cell and Regenerative Medicine (ISCRM)
     Zebrafish core facility housing 15,000+ fish and providing services to 11 + labs


     Research Engineer Ill
     Aug 2017 - Mar 2020 · 2 years 8 months
     Seattle, Washington, United States
     Laboratory of Andre Berndt
     Department of Bioengineering
     Nanofabrication, HTS, 3D modeling, micromachines


     Member, Institutional Biosafety Committee
     Jan 2014 - Aug 2015 · 1 year 8 months
     Seattle, Washington, United States
     Environmental Health & Safety


      Ad-Hoc Consultant, Institutional Animal Care and Use Committee
      Feb 2011 - Sep 2012 · 1 year 8 months
      Seattle, Washington, United States
      Office of Animal Welfare



      Senior Scientific Advisor
      Clean Research
      Feb 2019 - Apr 2021 · 2 years 3 months

      Seattle, Washington, United States




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Q. Jeanot Muster, CMAR
      ~eatue, wasn1ngton, united ~tates
      Currently SCRI, in transitional period




      Manager, Laboratory Operations
      Fred Hutch
      Jun 2011 - Aug 2017 · 6 years 3 months

      Seattle, Washington, United States

      Office of Institutional Review


      Director, Laboratory Operations
      Howard Hughes Medical Institute
      Oct 2005 - Aug 2017 · 11 years 11 months

      Seattle, Washington, United States

      Laboratory of Randall T Moon
      Department of Pharmacology & Institute for Stem Cell and Regenerative Medicine
      Aquatics Manager for Moon, Brockerhoff, Hurley, Murry, Ruohola-Baker, and Cao labs.




      Chief Technical Officer, Gunsmith
      Jer's Gun Shop
      Nov 2010 - May 2014 · 3 years 7 months

      Bothell, Washington, United States
      01 FFL/3SOT


      Bartender
      Mona's Bistro and Lounge
      Nov 2009 - Dec 2010 · 1 year 2 months

      Seattle. Washinaton. United States




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 Q. Jeanot Muster, CMAR

       Seattle, Washington, United States

       Laboratories of Randall T Moon, David Kimelman




       Research Technician I
       Edmonds College
       Feb 2004 - Jun 2004 · 5 months

       Lynnwood, Washington, United States

       Department of Biology




       Natural Gas Technician
       Europa Construction
       Oct 2001 - Jan 2003 · 1 year 4 months

       Edmonds, Washington, United States


       Demolitions Specialist
       Design Masonry
       Nov 1998 - Sep 2001 · 2 years 11 months

       Seattle, Washington, United States




Education
       University of Washington
       Bachelor of Science (BS)· Molecular & Cellular Biology· 3.5

       2005 - 2010


       Edmonds Community College
       Associate of Science (AS)· Molecular Biology· 3.7

       2001 - 2004




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 Q. Jeanot Muster, CMAR
       C...VV I -   C...VV""t




Licenses & Certifications
       WA 1-1639 Compliance Training
       Washington State Department of Licensing
       Issued Apr 2022


       Fusion Liaison Officer Intermediate
       Washington State Fusion Center
       Issued Apr 2018


       Protective Measures
       U.S. Department of Homeland Security
       Issued Feb 2018
       Credential ID PER-336


       Vehicle-Borne Improvised Explosive Device Detection
       U.S. Department of Homeland Security
       Issued Feb 2018
       Credential ID PER-312


       Safeguarding Confidential Information
       University of Washington
       Issued Nov 2016


       Home Made Explosives Training
       New Mexico Institute of Mining and Technology
       Issued Aug 2016


       Incident Response to Terrorist Bombing
       New Mexico Institute of Mining and Technology




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Q. Jeanot Muster, CMAR
      U.J. L.lef-ldlllllelll UI nu111e1c:111u JeLUIILY


      Issued Jul 2016
      Credential ID AWR-338


      Introduction to the Terrorist Attack Cycle
      U.S. Department of Homeland Security
      Issued Jul 2016
      Credential ID AWR-334


      Protective Measures Awareness
      U.S. Department of Homeland Security
      Issued Jul 2016
      Credential ID AWR-340


      HazMat Security Awareness
      U.S. Department of Transportation
      Issued Jun 2016


      Improvised Explosive Device Construction and Classification
      U.S. Department of Homeland Security
      Issued Jun 2016
      Credential ID AWR-333


      Improvised Explosive Device Explosive Effects Mitigation
      U.S. Department of Homeland Security
      Issued Jun 2016
      Credential ID AWR-337


      Response to Suspicious Behaviors and Items
      U.S. Department of Homeland Security
      Issued Jun 2016
      Credential ID AWR-335


      Arc Flash Awareness



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Q. Jeanot Muster, CMAR
      ::>areLampus v101ence t'revenuon ana Kesponse I ram mg
      University of Washington
      Issued Jun 2015


      Compressed Gas Safety
      University of Washington
      Issued Nov 2014


      Laboratory Personal Protective Equipment
      University of Washington
      Issued Sep 2014


      Principles and Practices of Biosafety
      ABSA International
      Issued Jul 2014


      EOC Management and Operations
      FEMA
      Issued Jun 2014
      Credential ID IS-00775

      See credential


      ICS for Single Resources and Initial Action Incident
      FEMA
      Issued Jun 2014
      Credential ID IS-00200.b

      See credential


      Introduction to the Incident Command System for Higher Education
      FEMA
      Issued Jun 2014
      Credential ID IS-00100.he

      See credential




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Q. Jeanot Muster, CMAR
      Credential ID IS-00700.a

      See credential


      Globally Harmonized System
      University of Washington
      Issued Mar 2014


      Evacuation Warden/ Building Evacuation
      University of Washington
      Issued Oct 2013


      Fire Extinguisher Training
      University of Washington
      Issued Sep 2013


      Hunter Education
      Department of Fish & Wildlife (WA)
      Issued Aug 2012


      Handgun Safety
      Multnomah County Sheriff's Office (OR)
      Issued Jan 2010


      Fume Hood Training
      University of Washington
      Issued Jan 2009


      Radioactive Materials Access License
      U.S. Nuclear Regulatory Commission
      Issued Jan 2009


      Asbestos General Awareness
      University of Washington
      Ice-, ,orl nr+ ?nnQ




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Q. Jeanot Muster, CMAR
      1::,::,ueu JUI C..VV/




      Principles of Radiation Protection
      University of Washington
      Issued Oct 2005


      CPR for The Professional Responder
      American Red Cross
      Issued Mar 2002


      Emergency Response
      American Red Cross
      Issued Mar 2002


      Certified Manager of Animal Resources
      AALAS
      Issued Apr 2014 · Expires May 2024

      See credential


      03 Federal Firearms License
      Bureau of Alcohol, Tobacco, Firearms and Explosives
      Issued Mar 2012 · Expires Apr 2024


      Concealed Pistol License
      King County Sheriff's Office (WA)
      Issued Jan 2009 · Expires Jan 2024


      Small UAS
      Federal Aviation Administration
      Issued Dec 2015 · Expires Dec 2023


      Concealed Handgun License
      Multnomah County Sheriff's Office (OR)
      Issued Feb 2010 · Expires Jan 2023




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Q. Jeanot Muster, CMAR
      Credential ID FX 60836970


      Researcher (11-V)
      Drug Enforcement Administration
      Issued Mar 2018 · Expires Jan 2022
      Credential ID RM0534607


      Biosafety Training (BSL2 w/ 3, ABSL2)
      University of Washington Environmental Health & Safety
      Issued Jul 2011 · Expires Aug 2021


      Category B Biological Substances Shipping
      University of Washington
      Issued Jan 2013 · Expires Aug 2021


      Dual Use Research of Concern (DURC)
      University of Washington
      Issued Sep 2015 · Expires Aug 2021




m     Bloodborne Pathogens for Researchers
      University of Washington
      Issued Mar 2009 · Expires Jan 2021




m     Dry Ice Shipping
      University of Washington
      Issued Mar 2012 · Expires Aug 2020


      Aseptic Surgery
      Collaborative Institutional Training Initiative
      Issued Sep 2013 · Expires Sep 2017
      Credential ID 11159533


      Working With Zebrafish (Dania rerio) in Research Settings




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 Q. Jeanot Muster, CMAR
            IALUL Lna1rs, 1v1emoers, ana Looramators
            Collaborative Institutional Training Initiative
            Issued Sep 2013 · Expires Sep 2016
            Credential ID 11159531


            Investigators, Staff and Students
            Collaborative Institutional Training Initiative
            Issued Sep 2013 · Expires Sep 2016
            Credential ID 11159530


            Reducing Pain and Distress in Laboratory Mice and Rats
            Collaborative Institutional Training Initiative
            Issued Sep 2013 · Expires Sep 2016
            Credential ID 11159532




m           Workplace Violence Prevention & Response
            University of Washington
            Issued Jan 2013 · Expires Dec 2014




Publications
Amino acid primed mTOR activity is essential for heart regeneration
 Cell iScience · December 5, 2021
 Heart disease is the leading cause of death with no method to repair damaged myocardium due
to the limited proliferative capacity of adult cardiomyocytes. Curiously, mouse neonates and
zebrafish can regenerate their hearts via cardiomyocyte de-differentiation and proliferation.
 However, a molecular mechanism of why these cardiomyocytes can re-enter cell cycle is poorly
 understood. Here, we identify a unique metabolic state that primes adult zebrafish and neonatal
 mouse ventricular ...

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Q. Jeanot Muster, CMAR




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A More Open Approach Is Needed to Develop Cell-Based Fish Technology: It Starts
with Zebrafish
Cell One Earth · July 24, 2020
The global demand for fish is rising and projected to increase for years to come. However, there
is uncertainty whether this increased demand can be met by the conventional approaches of
capture fisheries and fish farming because of wild stock depletion, natural resource
requirements, and environmental impact concerns. One proposed complementary solution is to
manufacture the same meat directly from fish cells, as cell-based fish. More than 30 ventures are
competing to commercialize cell-based ...

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The transcriptional response of skin to fluorescent light exposure in viviparous
(Xiphophorus) and oviparous (Dania, Oryzias) fishes
Comparative Biochemistry and Physiology - Part C: Toxicology & Pharmacology· October 7,
2017
Differences in light sources are common in animal facilities and potentially can impact
experimental results. Here, the potential impact of lighting differences on skin transcriptomes




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Porous Implants modulate Healing and Induce Shifts in Local Macrophage
Polarization in the Foreign Body Reaction
Annals of Biomedical Engineering · November 19, 2013
The foreign body reaction (FBR) to implanted materials is of critical importance when medical
devices require biological integration and vascularization to support their proper function (e.g.,
transcutaneous devices, implanted drug delivery systems, tissue replacements, and sensors).
One class of materials that improves FBR outcomes is made by sphere-templating, resulting in
porous structures with uniform, interconnected 34 µm pores. With these materials we observe
reduced fibrosis and ...

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A protein complex of SCRIB, NOS1AP and VANGL1 regulates Cell Polarity and
Migration, and is associated with Breast Cancer Progression
Nature Oncogene· December 19, 2011




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Q. Jeanot Muster, CMAR
interacts with the PCP proteins VANGL 1 and SCRIB to form a protein complex, which is recruited
to the leading edge ...

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Chemical-Genetic Screen identifies Riluzole as an Enhancer of Wnt/~-catenin
signaling in Melanoma
Cell Chemistry and Biology· November 24, 2010
To identify new protein and pharmacological regulators of Wnt/~-catenin signaling we used a
cellbased reporter assay to screen a collection of 1857 human-experienced compounds for their
ability to enhance activation of the ~-catenin reporter by a low concentration of WNT3A. This
identified 44 unique compounds, including the FDA-approved drug riluzole, which is presently
in clinical trials for treating melanoma. We found that treating melanoma cells with riluzole in
vitro enhances the ability of...

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 Q. Jeanot Muster, CMAR
We conducted a yeast-2-hybrid screen using an N-terminal fragment of Dsh, resulting in
isolation of the Xenopus laevis ortholog of Hipk1. Interaction between the Dsh and Hipk1
proteins was confirmed by co-immunoprecipitation assays and mass spectrometry, and further
experiments suggest that Hipk1 also complexes with the transcription factor Tcf3 . Supporting a
nuclear function during X. laevis development, Myc-tagged Hipk1 localizes primarily to the
nucleus in animal cap explants, and the ...

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Languages
English
Native or bilingual proficiency


German
Native or bilingual proficiency


Spanish
Limited working proficiency


French
Elementary proficiency




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    Q. Jeanot Muster, CMAR


         David Kimelman
        "Jeanot worked for myself and his direct manager, Professor Randall Moon, taking care of a
        large colony of frogs for research purposes. Prior to Jeanot the frog colony had not been
        managed well, but he did an outstanding job making sure that the animals were always in
        great health, and dealing with the many layers of administration that supervised the colony.
        He was completely reliable, very detail oriented, and creative in finding solutions to
        problems. He was always calm, friendly and helpful. I was very happy having him as our
        animal manager."




        Jason Berndt
        "Jeanot is an outgoing co-worker who routinely establishes and maintains relationships
        between our lab and sales/ service representatives at biotech companies and university
        agencies. Jeanot facilitates scientific activities in the lab through both direct assistance with
        experiments and by taking care of most administrative lab tasks, e.g. ordering supplies,
        maintaining EH&S and IACUC compliance, etc."



2 people have recommended Jeanot


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    & Contact Jeanot directly

    ( Join to view full profile )




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  Q. Jeanot Muster, CMAR
       Alexander Hopkins
       Senior Sales Representative at Thermo Fisher Scientific
       Greater Seattle Area

       Rickey Kelly
       Terminal Manager at PACIFIC RAIL SERVICES, INC.
       Springfield, MA

       Marbelys Pino
       Assistant Professor at Miami Dade College
       Miami-Fort Lauderdale Area

       Roman Kriz
       Chief Executive Officer at Bene Meat Technologies a.s.
       Czechia

       Dan Stonehouse
       IT Analyst in Business Applications at Seattle Children's
       Tacoma, WA

       Kelly Uckun, MBA
       Administrator, Department of Medicine, Division of Metabolism, Endocrinology and Nutrition at
       University of Washington
       Seattle, WA

       Mark McCormick
       Director of Marketing and Communications
       Madison, WI

       Tim Branch
       Design Manager at Great Ormond Street Hospital Children 's Charity
       London

       Rickey Kelly
       Contractor
       St Louis, MO


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     Q. Jeanot Muster, CMAR


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                        Excel: Creating a Basic Dashboard



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                Jeanot Muster, CMAR
                Research Facilities Manager at Seattle Children's


      [@] Manager, Research Facilities Construction & Maintenance at Seattle Children's
      ffl University of Washington
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(      View profile badges )




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 Q. Jeanot Muster, CMAR




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